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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION

BARBARA CHENETTE,

       Plaintiff,                                         CASE NO. 2:13-cv-00376-UA-SPC

v.

ENHANCED RECOVERY COMPANY, LLC,

      Defendant.
_____________________________________/


                         NOTICE OF VOLUNTARY DISMISSAL

       BARBARA CHENETTE (Plaintiff), by her attorneys, KROHN & MOSS, LTD., and

pursuant to FRCP 41(a)(1)(A) (Dismissal of Actions—Voluntary Dismissal By Plaintiff Without

Court Order) voluntarily dismisses, with prejudice, the above-captioned action, filed against,

ENHANCED RECOVERY COMPANY, LLC (Defendant), in this case.



       DATED: August 14, 2013              RESPECTFULLY SUBMITTED,

                                        By: /s/ Shireen Hormozdi

                                           Shireen Hormozdi
                                           Krohn & Moss, Ltd
                                           10474 Santa Monica Blvd., Suite 405
                                           Los Angeles, CA 90025
                                           Phone: (323) 988-2400 ext. 267
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                                           FBN: 0882461




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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 14, 2013, I electronically filed the foregoing Notice of

Voluntary Dismissal with the Clerk of the Court by using the CM/ECF System. A copy of said

Notice was mailed to the below address.

       Ginny L. Rodriguez
       Director of Compliance
       Enhanced Recovery Company, LLC
       8014 Bayberry Rd.
       Jacksonville, FL 32256



                                                          /s/ Shireen Hormozdi
                                                          Shireen Hormozdi
                                                          Attorney for Plaintiff




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